Case 2:22-cv-00229-RCY-LRL Document 5 Filed 06/01/22 Page 1 of 4 PageID# 28




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                            EASTERN DISTRICT OF VIRGINIA
                                    Norfolk Division

JOHN DOE,
        Plaintiff
v.                                                            Civil Case No.
NORFOLK STATE UNIVERSITY,

BOARD OF VISITORS OF
NORFOLK STATE UNIVERSITY,

and

FICTITIOUS PERSONS A-Z.,
        Defendants

     MEMORANDUM IN SUPPORT OF PLAINTIFF’S MOTION TO PROCEED UNDER
               PSEUDONYM AND FOR PROTECTIVE ORDER

        The Plaintiff is suing the Defendants for violating Title IX of the Education Amendments

of 1972 (i.e., 20 U.S.C. §§ 1681, et seq.) (“Title IX”). The alleged violation stems from an instance

of sexual assault. The Plaintiff, who was a football player at Norfolk State University, was the

victim of an attempted rape and sexual assault by another football player at Norfolk State

University.

        Sadly, there is a social stigma associated with rape. Cf. Rama v. Holder, 607 F.3d 461,

464 (7th Cir. 2010) (“… the stigma attached to rape…”). Although the following quote from the

District Court for Maryland refers to prison rape, the same principle applies here: “…[T]here is

the stigma which attaches once it becomes known throughout the institution that an inmate was

raped. The stigma, in this instance, serves to single out an inmate as an easy mark, thereby

increasing the likelihood of further sexual assaults.” Doe v. Lally, 467 F. Supp. 1339, 1348-49

(D. Md. 1979).


                                       John Doe Complaint
                                           Page 1 of 4
Case 2:22-cv-00229-RCY-LRL Document 5 Filed 06/01/22 Page 2 of 4 PageID# 29




       The Plaintiff therefore seeks permission to proceed in this action under the pseudonym

“John Doe” and seeks entry of a protective order barring dissemination of his true name and

requiring that any documents containing his true name be filed under seal.

       ARGUMENT

       As a general matter, a complaint must state the names of all parties. Fed. R. Civ. P. 10(a).

However, “trial courts have always been afforded the power to seal their records when interests of

privacy outweigh the public’s right to know.” In re Knoxville News-Sentinel Co., Inc., 723 F.2d

470, 474 (6th Cir. 1983) (citations omitted). “The interests that courts have found sufficiently

compelling to justify closure [of case information] … include … protecting the privacy rights of

trial participants such as victims or witnesses.” Co. Doe v. Public Citizen, 749 F.3d 246, 269 (4th

Cir. 2014) (citing Globe Newspaper Co. v. Superior Court, 457 U.S. 596, 607-08, 102 S. Ct. 2613,

73 L. Ed. 2d 248 (1982)).

       Here, the plaintiff’s privacy interests outweigh the general presumption of open records.

“Courts throughout the country have routinely found that the privacy interests of alleged sexual

assault victims outweigh the presumption in favor of openness.” NMIC Ins. Co. v. Smith, No. 2:18-

cv-533, 2018 U.S. Dist. LEXIS 224759, at *4-5 (S.D. Ohio Oct. 24, 2018); see also, Doe v. Blue

Cross & Blue Shield United of Wisconsin, 112 F.3d 869, 872 (7th Cir. 1997) ("fictitious names are

allowed when necessary to protect the privacy of … rape victims, and other particularly vulnerable

parties or witnesses."); K.S. v. Detroit Pub. Sch., No. 14-12214, 2015 U.S. Dist. LEXIS 94312,

2015 WL 13358204, at *3 (E.D. Mich. July 21, 2015) (allowing alleged sexual assault victim to

proceed anonymously); Doe No. 2 v. Kolko, 242 F.R.D. 193, 195 (E.D.N.Y. 2006) ("the public

generally has a strong interest in protecting the identities of sexual assault victims so that other

victims will not be deterred from reporting such crimes").


                                       John Doe Complaint
                                           Page 2 of 4
Case 2:22-cv-00229-RCY-LRL Document 5 Filed 06/01/22 Page 3 of 4 PageID# 30




       Naturally, the Plaintiff does not have a problem with the Defendants learning his name.

The Defendants need his name and other identifying information to provide a defense. However,

the Plaintiff wants to ensure that his identity is not disseminated to people who do not need this

information. Here, the Plaintiff seeks an order that would limit disclosure of his personal

information to the public but permit disclosure to the Defendants. Thus, the proposed protective

order will not hamper the defendants’ ability to present a defense.

       CONCLUSION

       Allowing the Plaintiff to proceed under a pseudonym and entering protective order

protecting his identity against disclosure is necessary to prevent him from being subjected to

harassment, ridicule, shame, or other harm and will not compromise the Defendants’ ability to

conduct their defense. For these reasons, the Plaintiff requests the Court to enter an order

permitting the Plaintiff to proceed in this action under the pseudonym “John Doe” and to enter a

protective order barring dissemination of the Plaintiff’s true name and requiring that any

documents containing his true name be filed under seal.

       This, the 1st day of June 2022,

                                                     Respectfully Submitted,


                                                     __________/s/___________________
                                                     Diane P. Toscano,
                                                     Virginia Bar No. 73478
                                                     TOSCANO LAW GROUP, P.C.
                                                     1244 Perimeter Parkway, Suite 443
                                                     Virginia Beach, Virginia 23454
                                                     Tel: (757) 821-7972
                                                     Fax: (757) 903-0186
                                                     Diane@toscanolawgroup.com
                                                     Attorney for Plaintiff John Doe




                                         John Doe Complaint
                                             Page 3 of 4
Case 2:22-cv-00229-RCY-LRL Document 5 Filed 06/01/22 Page 4 of 4 PageID# 31




                                 CERTIFICATE OF SERVICE

        I certify that on June 1, 2022 a copy of the foregoing was filed electronically. Notice of

this filing will be sent by operation of the Court’s electronic filing system to all parties indicated

on the electronic filing receipt.   All other parties will be served by electronic mail and First

Class Mail:

                              James D. Wright, Esq.
                              Associate University Counsel
                              Senior Assistant Attorney General
                              Office of the University Counsel
                              Norfolk State University
                              700 Park Avenue, HBW, Ste. 101
                              Norfolk, Virginia 23504

                              Pamela Boston, Esq.
                              Associate University Counsel
                              Senior Assistant Attorney General
                              Office of the University Counsel
                              Norfolk State University
                              700 Park Avenue, HBW, Ste. 101
                              Norfolk, Virginia 23504

                                                       Respectfully Submitted,


                                                       __________/s/___________________
                                                       Diane P. Toscano,
                                                       Virginia Bar No. 73478
                                                       TOSCANO LAW GROUP, P.C.
                                                       1244 Perimeter Parkway, Suite 443
                                                       Virginia Beach, Virginia 23454
                                                       Tel: (757) 821-7972
                                                       Fax: (757) 903-0186
                                                       Diane@toscanolawgroup.com
                                                       Attorney for Plaintiff John Doe




                                       John Doe Complaint
                                           Page 4 of 4
